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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION



Rachel Luna                               §
                                          §
versus                                    §             Case Number: 4:23−cv−03005
                                          §
U.S. Bank, NA                             §


                             Notice of Cancellation
A proceeding in this case has been canceled as set forth below.
      Canceled setting: Initial Pretrial and Scheduling Conference
      Date and Time: 10/13/2023 at 2:00PM


Date: October 10, 2023
                                                                  Nathan Ochsner, Clerk
